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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11     ABRAHAM SOTO,                  )          Case No. CV 10-3525 AHM(JC)
                                      )
12                      Petitioner,   )          ORDER ADOPTING FINDINGS,
                                      )          CONCLUSIONS, AND
13                 v.                 )          RECOMMENDATIONS OF
                                      )          UNITED STATES MAGISTRATE
14     RAUL LOPEZ,                    )          JUDGE
                                      )
15                      Respondent.   )
                                      )
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            Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition for Writ of
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      Habeas Corpus by a Person in State Custody (the “Petition”), the Motion to
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      Dismiss the Petition (“Motion to Dismiss”), petitioner’s Opposition to the Motion
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      to Dismiss, petitioner’s Objections to the original Report and Recommendation, the
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      Superseding Report and Recommendation of United States Magistrate Judge
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      (“Superseding Report and Recommendation”), petitioner’s objections to the
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      Superseding Report and Recommendation (“Objections”), and all of the records
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      herein. The Court has further made a de novo determination of those portions of
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      the Superseding Report and Recommendation to which objection is made. The
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      Court concurs with and adopts the findings, conclusions, and recommendations of
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      the United States Magistrate Judge and overrules the Objections.
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     Case 2:10-cv-03525-AHM-JC Document 27 Filed 12/05/11 Page 2 of 2 Page ID #:243



 1         IT IS ORDERED that Judgment be entered granting the Motion to Dismiss
 2 and dismissing this action with prejudice.
 3         IT IS FURTHER ORDERED that the Clerk serve copies of this Order, the
 4 Superseding Report and Recommendation, and the Judgment herein on petitioner
 5 and on counsel for respondent.
 6         LET JUDGMENT BE ENTERED ACCORDINGLY.
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 8         DATED: December 5, 2011
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                                    HONORABLE A. HOWARD MATZ
11                                  UNITED STATES DISTRICT JUDGE
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